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                     CENTRAL DISTRICT OF CALIFORNIA
17

18   FEDERAL TRADE COMMISSION,
                                             Civ. No.
19                    Plaintiff,                        SACV19-01333 JVS(KESx)
20                                           MEMORANDUM IN SUPPORT
                           vs.               OF PLAINTIFF'S APPLICATION
21
                                             FOR A TEMPORARY
22   ELEGANT SOLUTIONS,INC., et al.          RESTRAINING ORDER AND
23                                           AN ORDER TO SHOW CAUSE
                     Defendants.             WHY A PRELIMINARY
24
                                             INJUNCTION SHOULD NOT
25                                           ISSUE
26

27                                           FILED UNDER SEAL
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18   In re Vuitton et Fils S.A., 606 F.2d 1 (2d Cir. 1979)...............................................27
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l0   16 C.F.R. § 310.4~a)~5)~i)........................................................................................20
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19   FTC Policy Statement Regarding Advertising Substantiation, 104 F.T.C. 648
20    (1984)....................................................................................................................18
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1      I.   INTRODUCTION
2           Plaintiff, the Federal Trade Commission ("FTC"), brings this action to halt a
3     pernicious debt relief scheme that preys on consumers with student loan debt.
4     Defendants lure consumers with false or unsubstantiated promises to lower
5     consumers' monthly student loan payments by consolidating consumers' loans and
6     enrolling them in affordable student loan repayment plans. They also mislead
7     consumers into believing that all or most of their payments will be applied to their
8     student loans. Defendants claim they will take over the servicing of consumers'
9     loans and direct consumers to submit monthly payments to Defendants.
l0          In reality, Defendants do not obtain the specific lower payments promised
11    consumers, make only sporadic, if any, payments to consumers' loans, and do not
12   take over servicing of consumers' loans. However, because Defendants change the
13    contact information on consumers' student loan servicing accounts, consumers
l4    often go several months or sometimes years before finding out their student loans
15    are not being repaid. In short, Defendants fail to obtain the promised debt relief for
16    consumers and have instead bilked consumers out of more than $23 million.
17          The individual defendants, and some ofthe corporate defendants, have been
18    pursued by three state attorneys general over their debt relief business and are
19    currently subject to consent orders in those states.' Defendants continue their
20    operation in spite of these actions.
21          Defendants' actions violate Section 5 ofthe Federal Trade Commission Act
22 ("FTC Act"), 15 U.S.C. § 45, and the Telemarketing Sales Rule("TSR"), 16
23   C.F.R. Part 310.
24          To put an immediate stop to Defendants' unlawful conduct, the FTC seeks a
25    non-noticed ex parte temporary restraining order("TRO") with an order to show
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     'See PX 22-24(North Carolina, Oregon, and Washington consent orders).
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 1   cause why a preliminary injunction should not issue pursuant to Section 13(b) of
2    the FTC Act, 15 U.S.C. § 53(b). The proposed TRO would enjoin Defendants'
3    illegal practices, freeze their assets, appoint a temporary receiver, allow the FTC
4    immediate access to Defendants' business premises to inspect and preserve
5    documents, and impose other relief. These measures are necessary to prevent
6    continued consumer injury, dissipation of assets, and destruction of evidence,
7    thereby preserving this Court's ability to provide effective final relief.
8    II.   THE PARTIES
9          A.     Plaintiff
l0         Plaintiff FTC is an independent agency of the United States government
11   created by statute. 15 U.S.C. §§ 41-58. The FTC's responsibilities include
12   enforcing the FTC Act's prohibitions of unfair or deceptive practices, 15 U.S.C.
13   § 45(a), as well as enforcing the Rules it has promulgated under its rulemaking
14   authority, including the TSR, 16 C.F.R. Part 310.
15         B.     Corporate Defendants
16         Defendant Elegant Solutions, Inc., also d/b/a Federal Direct Group ("Elegant
17   Solutions"), is a South Dakota corporation formed in May 2016.2 The Articles of
18   Incorporation list 110 E. Center St., Ste. 2053, Madison, SD 57042 as the principal
19   executive office for Elegant Solutions, but Elegant Solutions has also used a
20   commercial Regus office located at 300 Spectrum Center Drive #400 Irvine, CA
2l   92618 as well as 3 Studebaker, Irvine, CA 92618 as its business addresses.3
22   Elegant Solutions is registered as a foreign corporation in California.4 Federal
23

24

25 2 PX 20, p. 685,¶ 21, Att. A.
   3 PX 20, p. 685, ¶ 22, Att. A (110 E. Center St.); p. 686 ¶ 27, Att. A(300
26 Spectrum Center Dr.); p. 689, ¶ 36, Att. F(3 Studebaker); p. 690,¶ 39, Att. G(3

27 Studebaker).
   4 PX 20, p. 686, ¶ 24, Att. A.
28


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     Direct Group is registered with the South Dakota Secretary of State as a d/b/a of
2    Elegant Solutions.5
3          Defendant Trend Capital Ltd., also d/b/a Mission Hills Federal("Trend
4    Ca ital" is a South Dakota corporation that is registered to do business in
5    California as a foreign corporation.6 The 2016 Articles ofIncorporation list 110 E.
6    Center St., Ste. 2053, Madison, SD 57042 as the principal executive office for
7    Trend Capital, but Trend Capital has used other addresses in correspondence with
8    banks and service providers, including 3 Studebaker, Irvine, CA 92618 and 30211
9    Avenida del las Banderas #200, Rancho Santa Maragarita, CA 92688.' Mission
l0   Hills Federal is registered with the South Dakota Secretary of State as a d/b/a of
11   Trend Capital. g
12         Defendant Dark Island Industries, Inc., also d/b/a Federal Direct Group and
13   f/k/a Cosmopolitan Funding Inc•("Dark Island"), is a South Dakota corporation
14   that is registered to do business in California as a foreign corporation.9 The
15   Articles ofIncorporation list 110 E. Center St., Ste. 2053, Madison, SD 57042 as
16   the principal executive office for Dark Island, but Dark Island has listed 3
17   Studebaker, Irvine, CA 92618 as its business address in public documents.'o
18   Cosmopolitan Funding, Inc. incorporated in South Dakota in May 2016 and
19   changed its name to Dark Island Industries, Inc. in June 2016."
20

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23
   5 PX 20, pp. 685-86,¶ 23, Att. A.
   6 PX 20, pp. 694-95, ¶¶ 59, 62, Att. M.
24    PX 20, p. 695-96, ¶ 60, Att. M (110 E. Center St.); ¶ 66, Att. M (30211 Avenida
25 Del Las Banderas); ¶ 70, Att. P(3 Studebaker).
   8 PX 20, p. 695, ¶ 61, Att. M.
26 9 PX 20, pp. 690-91, ¶¶ 42, 45, Att. H.
   to pX 20, pp. 690-91, ¶ 43(110 E. Center St.), ¶ 45(3 Studebaker), Att. H.
27
   1 1 pX 20, p. 690, ¶¶ 42,44, Att. H.
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1           Defendant Heritage Asset Management,Inc., also d/b/a National Secure
2     Processing("Herita~,is a South Dakota corporation that is registered to do
3     business in California as a foreign corporation.12 The Articles ofIncorporation list
4    ~ 110 E. Center St., Ste. 2053, Madison, SD 57042 as the principal executive office
5     for Heritage, but Heritage has also listed 6A Liberty #125, Aliso Viejo, CA 92656
6     as its business address in public documents.13 Heritage incorporated in South
7     Dakota in May 2014 and dissolved in December 2017.14 National Secure
8    Processing is registered with the South Dakota Secretary of State as a d/b/a of
9     Heritage.'S
to          Defendant Tribune Management, Inc., also d/b/a The Student Loan Group
11    ~"Tribune"), is a Nevada corporation. 16 Tribune's Articles ofIncorporation, filed
12    in 2014, identify its registered agent as Corp 95, LLC at 2620 Regatta Dr. Suite
13    102, Las Vegas, Nevada, 89128 and Tribune has also listed 6A Liberty Ste. 175,
14    Aliso Viejo, CA 92656 as its business address in public documents." The Student
15    Loan Group is registered with the Nevada Secretary of State as a Fictitious Firm
16    Name for Tribune.18 Tribune filed a Certificate of Dissolution in November
17   2017,19
18

19

20

21
     'Z PX 20, pp. 698-99, ¶¶ 79, 83, Att. Q.
22    13 pX 20, p. 699,¶¶ 80(110 East Center St.), 83(6A Liberty), Att. Q.
      14 pX 20, p. 698-99, ¶¶ 79, 84, Att. Q. South Dakota and Nevada permit lawsuits
23
      against dissolved corporations that commence within two years of dissolution.
24    S.D. Codified Laws § 47-26-39 (2019);Nev. Rev. Stat. § 78.585 (2013).
25   's pX 20, p. 699, ¶ 81, Att. Q.
      16 pX 20, p. 703, ¶ 101, Att. X.
26    17 PX 20, pp. 703-04, ¶ 101 (Corp 95), ¶ 106(6A Liberty), Att. X.
27   'g PX 20, p. 703,¶ 104, Att. X.
      19 pX 20, p. 704,¶ 105, Att. X.
28


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1          C.    Individual Defendants
2          Defendant Mazen Radwan has held himself out as an officer of Dark Island,
3    Elegant Solutions, Heritage, Trend Capital, and Tribune.20 He has used the name
4    "Michael Radwan" and "Mike Radwan" in bank and service provider documents in
5    connection with the business activities alleged in this Complaint.21 He has been a
6    signatory on the corporate defendants' bank and American Express accounts 2Z
7    and has served as the customer contact for Defendants' Internet Service Provider
8    agreements.23
9          Defendant Rima Radwan has held herself out as an officer of Elegant
to   Solutions, Dark Island, Heritage, Trend Capital, and Tribune.24 She has been a
11   signatory on the corporate defendants' bank accounts and has served as the
12   customer contact for Defendants' payroll company.25
13         Defendant Dean Robbins has held himself out as an officer of Elegant
14   Solutions, Trend Capital, Dark Island, Heritage, and Tribune.26 He has been a
15   signatory on the corporate defendants' bank and American Express accounts and
16   has served as the customer contact for Defendants' virtual office provider.27
17
18
   20PX 20, pp. 708-713, Table 1 (Individual-Entity Matrix).
19 21 PX 20, pp. 693-94,¶ 56; 700,¶ 86.
   22PX 20, pp. 708-713, Table 1 (Individual-Entity Matrix); see also pp. 687,688,
20
   693-94,696, 700-02, 704-05, ¶¶ 29, 32-33, 55, 57, 69, 88, 90, 92, 95, 97, 108, 111,
21
   Atts. B, C,D,J, L,N,R, S, T, U,Y,Z(bank signature cards and credit card holder
22 documents).
   23 PX 20, p. 69394,¶ 56, Att. K (ISP).
23 Z4
      PX 20, pp. 708-713, Table 1 (Individual-Entity Matrix).
24 25 PX 20, p. 708-713, Table 1 (Individual-Entity Matrix); see also pp. 687, 693,

25 701-02, 704-05, ¶¶ 29, 55, 90, 92, 95, 108, 111, Atts. B, J, S, T, U,Y,Z(bank
   signature cards and credit card holder documents); ¶ 35, Att. S (payroll).
26 26 PX 20, pp. 708-713, Table 1 (Individual-Entity Matrix).
27 27 PX 20, pp. 708-713, Table 1 (Individual-Entity Matrix); see also pp. 687,693,
   696, 701-02, 704-05, ¶¶ 29, 55, 69, 90, 92, 95, 108, 111, Atts. B,J, N,S, T, U,Y,
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      Dean Robbins designed the customer relationship management("CRM")software
      used by Defendants for their student loan scheme.28
            D.     The Common Enterprise
4           Defendants conduct their debt relief scheme through an interrelated network
      ofcompanies that are commonly owned or controlled by the individual defendants.
      They have operated this common enterprise since at least mid-2014 when they
      incorporated Heritage and Tribune and started using the d/b/a names of National
      Secure Processing and The Student Loan Group in communciations with
9     consumers.29 In mid-2016, Defendants transitioned their student loan scheme to
to    Defendants Dark Island Industries, Elegant Solutions, and Trend Capital, and
11    started doing business as Federal Direct Group and Mission Hills Federa1.30 All
12    corporate defendants have been or are owned or controlled by the same three
13    individual defendants; for example, each has expressly held him or herself out as a
14    33%owner of Elegant Solutions, Dark Island, Heritage, and Tribune in bank
15    account or merchant applications.31 The same individuals each have had signatory
16    control over the corporate funds in all five corporate Defendants' depository bank
17

18   Z(bank signature cards and credit card holder documents); p. 609,¶ 39, Att. G
     (payroll).
19    28 PX 20, p. 716,¶ 124, Att. CC.
20
      29 Evidence suggests the individual Defendants actually started scamming students
      prior to the Complaint period, in 2013, through a previous partnership named SLS
21
      Managers and a previous corporation named DORM Group, Inc. See PX 20, p.
22   716, ¶ 122, Att. CC. Their enterprise originally involved four individuals, the three
23
      individual Defendants and their former partner, Omar Chmait. After the individual
     Defendants allegedly ousted Mr. Chmait from their scheme, Chmait sued Mazen
24   Radwan, Rima Radwan, and Dean Robbins for lost revenues. Id. In 2014,the
25    individual Defendants appear to have continued their student loan debt relief
     scheme without Mr. Chmait by forming the first wave of corporations named in the
26    Complaint, Heritage and Tribune.
27
      3o pX 20, pp. 685,690,696, ¶¶ 21, 42,68.
      31 pX 20, p. 708-713, Table 1.
28


                                               D
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1    accounts.32 Each was issued copies of credit cards for at least two different
2    corporate American Express accounts.33
3             Corporate defendants also share many of the same employees. Payroll
4    records show that eleven individuals employed by Tribune in 2017 were also
5    employed by Elegant Solutions in 2018,34 three individuals employed by Tribune
6    Management in 2017 were also employed by Trend Capital in 2018,35 and
7    seventeen individuals employed by Heritage Asset in 2017 were also employed by
8    Trend Capital in 2018,36
9             Defendants also use common business addresses to perpetuate their scheme.
to ~ Defendants have listed the address of 3 Studebaker, Irvine, CA 92618, as the
11   business address for Elegant Solutions, Dark Island Industries, and Trend Capital
12   in service agreements with third parties.37 These same three corporate defendants
13   have used an address, 26895 Aliso Creek Road, Aliso Viejo, CA 92656, which
14   appears to belong to a UPS PO Box.38 Public documents for all five corporate
15   defendants include a common address of3265B Golden Lantern St., Suite 140,
16   Dana Point, CA 92629.39 And public documents for four ofthe corporate
17   defendants (all except Tribune) list a common address of 110 East Center St., Suite
18   2053, Madison, SD 57042.40
19            Corporate defendants also comingle funds by making wire transfers between
20   corporate accounts and using one corporate account to pay American Express
21

22   32PX 20, pp. 687-88,693, 700-702, 704-05, ¶¶ 29,32, 55, 88, 92, 95, 108, 113.
     33 pX 20, Att. D.
23   34 pX 20, p. 718,¶ 132.
24   3s Id.
     36 pX 20, p. 719, ¶ 133.
25
     37PX 20, pp. 714-715, Table 2(Address Matrix).
26   3g la.
     39
27     Id
     40la
Zs
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 1   charges incurred by other corporate defendants.41 In addition, the individual
2    defendants use corporate accounts to pay for their luxury car leases, vacations, and
3    personal expenses.42
4    III.   DEFENDANTS'DECEPTIVE AND UNLAWFUL BUSINESS
5           PRACTICES
6           A.    Defendants' Deceptive Marketing of Student Loan Debt
7                 Relief Services
8           Defendants use at least three false or unsubstantiated representations in calls
9    with consumers to induce them to enroll in Defendants' debt relief program:
10 (1) consumers will be enrolled in a repayment plan that will reduce their monthly
11   payments to a lower, specific amount or result in their loan balances being
12   forgiven;(2) most or all of consumers' monthly payments to Defendants will be
13   applied toward consumers' student loans; and(3)Defendants will assume
14   responsibility for the servicing of consumers' student loans.
15                1.     Payment and Debt Reduction Misrepresentations
16          Defendants telephone consumers offering to help them with their student
17   loans.43 Defendants' telemarketers say that they will obtain specific, lower
18   monthly student loan payments —typically less than half of what consumers were
19   paying — by consolidating consumers' loans and/or enrolling them in income-based
20   repayment.44 For example, one consumer recalls:"He told me that I would pay a
21   lower monthly payment with Federal DG and that he would look into loan
22
23
24   al PX 20, pp. 737-38, ¶¶ 205-207.
     4
Zs 4321x.
      See, e.g., PX 2, p. 72,¶ 3; PX 3, p. 141, ¶ 3; PX 6, p. 226,¶ 3; PX 7,p. 265, ¶ 4,
26 PX 11, p. 380, ¶ 3(consumers received telephone calls).
27
   44 See, e.g., PX 1, p. 1, ¶¶ 3, 4; PX 2, p. 72, ¶¶ 3-4; PX 8, p. 273, ¶¶ 3-4; ¶ 3; PX 7,
   p. 265, ¶ 4,PX 13, p. 496,¶¶ 3-4; PX 15, p. 541, ¶¶ 3-4; PX 16, p. 551, ¶¶ 3-4.
28


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      forgiveness options for me,"45 and "...[she] told me that she worked with National
2     Secure Processing and they could lower my monthly payments by consolidating
      my loans and placing me in an income-based repayment plan."46
4           Defendants' telemarketers also explain that consumers' consolidated loans
      will be eligible for loan forgiveness, ultimately saving them money. In some
6     instances, Defendants claim consumers will be eligible for loan forgiveness after a
7     shorter time period than is actually available, such as three, ten, or 15 years.47 For
8     example,"I asked them how long it would take to repay my loans and they said
9     that if I made payments to National Secure Processing for seven years, then the
10    remaining balance on my loan would be forgiven;"48 and:
11
12
            He told me that if I worked with Federal DG,they would be able to set me
            up on a lower monthly payment plan than if I worked with my servicer
13          alone. He explained to me that I could enter into a payment plan where I
14          would pay approximately $90 per month for ten years and then the
            remainder of my loans would be forgiven.49
15
16          In fact, Defendants do not obtain the specific, lower monthly payment or
17    savings promised most consumers.50 Defendants have arranged for many of the
18

19    4s pX 14, p. 534, ¶ 3.
      46 pX 12, p. 407, ¶ 5. See also PX 6, p. 226,¶ 3("The representative told me that
20
      ifI signed up, National Secure Processing would lower my monthly payments and
21
      save me up to $2,000 by consolidating my student loans.").
22    47 PX 9, p. 313, ¶ 4(three years); PX 13, p. 496, ¶ 4 (15 years); PX 15, p. 541,¶ 3
23
     (ten years); PX 17, p. 590, ¶ 4(ten years).
      4s PX 4, p. 177,¶ 3.
24    a9 pX 7, p. 265, ¶ 4.
      so pX 1, p. 4, ¶ 18; PX 2, pp. 74, 75, ¶ 19;PX 3, p. 143, ¶ 14;PX 4, p. 179,¶ 12;
25
     PX 5, p. 210,¶ 10;PX 6, p. 228, ¶ 15;PX 7, p. 266,¶ 11;PX 8, p. 275, ¶ 16;PX 9,
26    p. 315, ¶ 16;PX 10, p. 343, ¶ 23; PX 11, p. 382, ¶ 14;PX 12, p. 409, ¶ 15;PX 13,
27    p.498, ¶ 13;PX 14, p. 545, ¶ 7;PX 15, p. 542, ¶ 7;PX 16, p. 553, ¶ 15;PX 17, p.
      591, ¶ 12;PX 18, p. 625, ¶ 11;PX 19, p. 652,¶ 22.
28


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     loans to be placed into forbearance or deferment.51 In other instances, Defendants
2    have contrived for payment plans with zero dollar monthly payments for
3    consumers by submitting falsified income and dependent numbers to consumers'
4    servicers unbeknownst to the consumers.52 And in further cases, Defendants have
5    altogether failed to obtain the promised consolidations.53 Indeed, some consumers
6    were not eligible for loan consolidations at the time they received the sales pitch
7    because they had already consolidated their loans.s4
8                2.     Misrepresentations About the Application of Payments
9          Defendants' telemarketers also misrepresent what will happen to consumers'
l0   payments. In their sales pitch, and in later correspondence with consumers, the
11   telemarketers instruct consumers to stop communicating with or making payments
12 to their "prior lender" or "current servicer" and to instead authorize Defendants to
13 set up monthly electronic withdrawals from consumers' bank accounts.
                                                                             ss

14   Defendants then claim that most or all of consumers' payments will be applied to
15
16
     51 See, eg., PX 3, p. 143, ¶ 14 (deferment); PX 4, p. 179, ¶ 12(forbearance);PX 5,
17   p. 210,,¶ 8(deferment);PX 10, p. 343, ¶ 23 (forbearance);PX 11, pp. 382, 383,¶
18   14(deferment);PX 15, p. 542, ¶ 17 (forbearance); see also PX 21, p. 1155, ¶¶ 25.
     52 See, eg., PX 16, p. 553,¶ 15: "[FedLoan Servincing indicated] that my income
19   information had been falsified so I had been placed into a $0 payment plan. I told
20   FedLoan Servicing that I was unaware my information had been falsified and, in
     fact, I had submitted my tax returns to National Secure Processing...". See also
21
     PX 2, pp. 74, 75, ¶ 19;PX 4, p. 179,¶ 12 PX 6, p. 228, ¶ 15; PX 7, p. 266,¶ 11;
22   PX 12, p. 409, ¶ 15; PX 13, p. 498, ¶ 13 (consumers with zero dollar payments);
23
     PX 21, pp. 1155-56, ¶¶ 26-28.
     53 pX 2, p. 74, ¶ 19; PX 4, p. 180,¶ 19; PX 6, p. 228, ¶ 14.
24   54 pX 21, p. 1151,¶ 15. In some instances, Defendants have consolidated loans for
25   consumers who had already made qualifying payments in programs that offered
     loan forgiveness, thus cancelling consumers' existing history of on-time payments
26   and "restarting the forgiveness periods." Id. at 1154-55, ¶ 24.
27
     ss See, eg., PX 16, p. 552,¶ 7; PX 3, p. 155, Att. C;PX 8, p. 280, Att. B;PX 11, p.
     395, Att. D.
28


                                              [[17
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     their student loans after consumers make between one and three initial or set-up fee
2    payments.56 For example,"Joseph informed that I should not have any contact
3    with my former servicer, and that Federal DG would handle everything for me;" 57
4    and "She told me I could make an initial payment between $200 and $300 and I
5    would then be able to make monthly payments of approximately $50 which would
6    be applied to the balance of my student loans."58
7          They also provide consumers phony payment breakdowns. For example,
8    Defendants told one consumer that $10 of her $51.67 monthly payment would be a
                                                                                  s9
9    management fee, and that the other $41.67 would go toward repaying her loans.
l0   None of her payments were applied to her loans.6o
11         In fact, the vast majority of revenues from consumers' payments end up in
12   Defendants' coffers.61 Although Defendants have made some sporadic payments
13   to consumers' lenders, most consumer declarants report that Defendants paid no
14   money at all towards their loans.62 One declarant learned that Defendants had
15   submitted only one payment over two years and only after Defendants had
16   interfered to such a degree that his loans were in default.63 Some consumers learn
17
     s6 pX 6, p. 226,¶ 3; PX 11, p. 380,¶ 4; PX 12, p. 407, ¶ 5; PX 15, p. 541,¶ 3.
18
     57 PX 14, p. 534, ¶ 4.
19   58 PX 16, p. 551, ¶ 4. See also, "I asked how much the monthly payments would
20   be, and the representative told me that they would be approximately $51 per
     month.[The representative] also told me that the entire monthly payment would be
21
     applied to repay my loans," PX 4, p. 177, ¶ 4; and "The man I spoke to said that if
22   I signed up with National Secure Processing, they would lock me into a better
23
     interest rate and apply lower monthly payments to the balance of my loans." PX 9,
     p. 313, ¶ 4.
24   s9 pX 2, p. 72,¶ 5; see also, PX 17, p. 590, ¶ 5.
     6o PX 2, p. 75,¶ 21.
25
     61 PX 20, p. 731, Table 4.
26   62 PX 2, pp. 74-75, ¶¶ 16, 19, 21; PX 3, p. 143, ¶ 14; PX 6, p. 228,¶ 18;PX 11, p.
27   384,¶ 20;PX 15, p. 543, ¶ 13;PX 19, p. 652, ¶ 22.
     63 pX 10, p. 343, ¶¶ 22, 25.
28


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1    from their loan servicers months or years after enrolling with Defendants that their
2    payments to Defendants are not going towards their loans.64
3          When consumers confront Defendants to find out what happened to their
4    multiple payments, Defendants inform them that their entire payments were
5    collected as "handling" or "management" fees.65 In other instances, Defendants
6    tell consumers that most ofthe consumer's payment has gone towards Defendants'
7    fees except for a minimal portion (such as $10 per month), which went into a
8 "trust" account to be saved up and paid to consumers' loans.66 There is no
9    evidence from bank records, however, that Defendants are actually using a third-
10   party financial institution to escrow consumer payments or set up consumer trust
11   accounts.67
12         As a result of Defendants' failure to make payments on consumers' loans,
13   many consumers have accrued additional, unpaid interest.68 In some cases, this
14   interest has then capitalized, increasing consumers' principal balance and,
15   concomitantly, the amount of interest they will have to pay over the life ofthe
16   loan.69 Defendants' actions have subjected some consumers to becoming
17   delinquent on their student loans.70
18

19

20
     6a See, eg., PX 1, p. 4,¶¶ 18, 19; PX 4, p. 178, ¶ 11;PX 13, p. 498, ¶ 13.
     6s pX 2, p. 74, ¶ 16; PX 11, p. 382, ¶ 11.
21   66 pX 18, p. 626, ¶ 13;PX 8, p. 275, ¶ 18.
22   67 PX 20, p. 723, ¶ 151.
23
     68 PX 1, p. 4,¶ 20; PX 2, p. 75,¶ 21;PX 3, p. 144, ¶ 19; PX 4, p. 180,¶ 19;PX 6,
     pp. 228, 229,¶ 18; PX 7, pp. 266-67, ¶ 13; PX 9, p. 316, ¶ 19; PX 11, p. 384,¶ 20;
24   PX 12, p. 411, ¶ 21; PX 13, p. 498, ¶ 16; PX 15, p. 543, ¶ 13;PX 16, pp. 553, 554,
25   ¶ 18;PX 18, p. 628, ¶ 20;PX 19, p. 652, ¶ 22.
     69 Id.; see also,PX 21, p. 1156,¶ 29(federal loan servicer describes interest
26   accrual and, sometimes, capitalization as a consequence of falsified repayment
27   plan applications).
     70 See, e.g., PX 21, p. 1154,¶ 23.
28


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l                 3.     Servicer Misrepresentations
2           Defendants tell consumers in their initial sales pitch, and in later calls and
3     emails, that they will be purchasing, taking over, or handling servicing of
4     consumers' loans. For example, one consumer declared,"[A representative] told
5     me that National Secure Processing would be taking over my loans and therefore
6     that I would no longer need to make payments to my previous loan servicer."71
7     Defendants further advise consumers that they will handle all communications
8     with consumers' lenders and instruct consumers to stop making payments to their
9 "previous" servicers.72
to          Defendants are not federal loan servicers and do not purchase consumers'
11    loans.73 Rather, they insert themselves as middlemen between consumers and their
12    servicers, effectively preventing the repayment and proper servicing of consumers'
13    loans.74 In many instances, Defendants use consumers' Federal Student Aid
14

15
16
      ~~ PX 13, p. 496, ¶ 4. See also, PX 3, p. 141, ¶ 3;PX 11, p. 380,¶ 4;PX 14, p. 534,
      ¶ 3.
17    72 Some consumers receive emails from Defendants directing consumers to avoid
18    communicating with their servicer and bolstering the misrepresentation that
      Defendants are taking over the servicing of consumers' loans: "As the
19    consolidation process may take from 60 to 120 days to complete your current loan
20    servicer make (sic) contact you in an attempt to retain you as a customer. Please
      disregard this call as this may delay your consolidation process." PX 3, p. 155,
21
      Att. C;see also, PX 8, p. 280, Att. B;PX 11, p. 395, Att. D (similar emails). The
22    wording of this email varies over time, but communications from 2019 still refer to
23
      consumers' loan services as "previous servicers," and suggests Defendants are
      consumers' current loan servicer. See PX 16, p. 569, Att. C.
24    73 PX 21, p. 1149,¶ 9. Well after consumers enroll in Defendants' programs,
25    Defendants have sent some "payment reminder" emails that admit that National
      Secure Processing,"is not affiliated with the Department of Education and not a
26    DOE servicer." PX 11, p. 392, Att. C.
27    74 See PX 21, p. 1148, ¶¶ 5-6 (explanation of how Student Loan Debt Relief
     ("SLDR")schemes work in MOHELA declaration); p. 1150, ¶ 11 (harms and
28


                                                13
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     Personal Identification Number("FSA PIN")and personal information to
     impersonate consumers in phone calls with consumers' servicers.75 Defendants
     also use consumers' sign-in credentials to change consumers' contact information
4    in their federal loan account files, effectively hindering or entirely preventing
     consumers' loan servicers from communicating with consumers.76
           B.     Fees and Enrollment in Defendants' Debt Relief Program
           If consumers are interested in Defendants' debt relief program, Defendants'
     telemarketers collect consumers' FSA PINS, social security numbers, and bank
     account payment information and routing numbers, typically during the initial
     call." Shortly thereafter, Defendants email consumers pre-filled electronic
     contracts with an Automated Clearing House("ACH")authorization and fine-print
12   disclosures and request that consumers sign electronically.'$
13          After consumers submit the e-signed contract, Defendants typically collect
14   an initial payment ranging from $100 to $500 and then an ongoing monthly
15
16
   potential harms for Defendants' SLDR activities on MOHELA borrower
17 accounts).
18 75 PX 21, p. 1152, ¶ 17.
   76 PX 21, pp. 1153-54, ¶¶ 19-22(MOHELA found altered contact information on
19 more than 500 borrower accounts associated with Defendants); see also,PX 4, p.

20 179,¶ 12; PX 5, p. 210,¶ 9; PX 11, p. 382,¶ 13; PX 18, p. 627,¶ 19,PX 15, p.
   542, ¶ 7("I contacted Sallie Mae...Sallie Mae was unable to verify my identity or
21
   discuss my loans because my contact information and password had been changed.
22 I was cut offfrom communicating with Sallie Mae.").

23
   "PX 2, p. 72,¶ 6(Defendants requested consumer's FSA username and PIN
   during first call); PX 5, p. 209,¶ 4(personal and banking information); PX 7, p.
24 265,¶ 5 (checking account information); PX 8, p. 273,¶ 5 (loan account

25 information),PX 9, p. 313, ¶ 5(bank account); PX 11, p. 380,¶ 5
                                                                       (personal
   information); PX 15, p. 541, ¶ 4(social security number, FSA PIN, bank account
26 information); PX 18, p. 625,¶ 4(personal and bank account information).

27 'g See, e.g., PX 2, p. 72, ¶ 7, Att. A;PX 5, p. 209, ¶ 5, Att. A;PX 6, p. 226,¶ 5,
   Att. A.
28


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      payment, typically ranging from $50 to $200.79 Between the initial and monthly
2     payments, Defendants have collected a total of between $773 and $7,000 from
      individual consumers.80 Defendants have taken more than $23 million from
      consumers since January 2016.81
            In some instances, when consumers have contacted Defendants to cancel,
6     Defendants have told consumers that they will suffer adverse credit consequences
7     if they cancel or that Defendants will turn the consumers' accounts over to debt
8     collectors.82 Defendants also have refused requests for refunds by consumers.83
9
10
11    79 PX 2, p. 72, ¶ 4 (initial fee and then a monthly payment of $51.67); PX 3, p. 141,
      ¶ 4 (initial payment of $109, monthly payment of $78.13); PX 5, p. 209,¶ 5 (initial
12    payment of $109, monthly payment of $153.38);PX 6, p. 226,¶ 3 (initial payment
13    of$181, monthly payment of $104); PX 11, p. 380, ¶ 4 (initial payment of$109,
      monthly payment of$61);PX 12, p. 407, ¶ 5("enrollment fee" of $200, monthly
14
      payment of $130);PX 13, p. 496,¶ 4(an initial fee and then a monthly payment of
15    $100);PX 16, p. 551,¶ 5 (initial payment of$200, monthly payment of $45.74);
16
      PX 18, p. 625,¶ 5(consumer to initially pay "$109 for a couple months" and then
      a monthly payment of$61);PX 19, p. 649, ¶ 5 (initial payment of$109, monthly
17    payment of $61.67).
18    80 PX 1, p. 4,¶ 20 ("I paid more than $7,000 to National Secure Processing and
      Mission Hills Federal."); PX 2, p. 74, ¶ 21 ($1,452.42); PX 3, p. 144,¶ 19
19   ($5,137.82); PX 4, p. 180, ¶ 19($3,200); PX 5, p. 211,¶ 16 ($5,323.92); PX 6, p.
20    228,¶ 18 ($1,850); PX 7, p. 266, ¶ 13 (over $1,000); PX 8, p. 275, ¶ 21
     ($3,768.24); PX 9, p. 316,¶ 19(almost $3,000); PX 10, p. 342,¶ 19 ($1,355.04);
21
     PX 11, p. 384,¶ 20($773); PX 12, p. 411,¶ 21 ($3,211); PX 13, p. 498,¶ 16(over
22   $3,000);PX 14, p. 535, ¶ 10 ($162.50); PX 15, p. 543, ¶ 13 ($1,900); PX 16, p.
23
      553,¶ 18 ($2,400);PX 17, p. 592, ¶ 16 ($1,415); PX 18, p. 628,¶ 20($1,708); PX
      19, p. 650,¶ 22(more than $1,000).
24    g PX 20, pp. 731, 732, ¶¶ 183, 184. Defendants' net revenues from January 2016
      '
25    to present are approximately $23,054,158.30. Without discovery, the amount of
      gross revenues from Defendants' operations between 2014-2016 is unclear because
26    the payment processor account records for that time period appear to potentially
27    involve some revenues from unrelated debt relief operations. PX 20, p. 725, ¶ 157.
      82 PX 4, p. 180, ¶ 18; PX 12, p. 410,¶ 17; PX 14, p. 535,¶ 9;PX 18, p. 627, ¶ 18.
28


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1     IV.   A TEMPORARY RESTRAINING ORDER SHOULD ISSUE
2           AGAINST DEFENDANTS
3           This Court should issue an ex parte TRO enjoining Defendants' illegal
4     practices, freezing their assets, appointing a temporary receiver, allowing the FTC
5     immediate access to Defendants' business premises to inspect and preserve
6     documents, and imposing other relief. The Court has the authority to grant the
7     requested relief, and the FTC meets the standard for preliminary injunctive relief.
8     Additionally, the scope ofthe proposed ex parte TRO is necessary and appropriate.
9           A.     This Court Has the Authority to Grant the Requested Relief
10          This Court has the authority to grant temporary, preliminary, and permanent
11    relief pursuant to the second proviso of Section 13(b) ofthe FTC Act, 15 U.S.C.
12    § 53(b), which states, "[I]n proper cases the Commission may seek, and after
13    proper proof, the court may issue, a permanent injunction."84 The Ninth Circuit
14    has recognized that any case alleging violations of a law enforced by the FTC
15    constitutes a proper case for which the FTC may seek injunctive relief.85 It further
16    has held that Section 13(b) preserves the Court's inherent authority to order not
17    only permanent relief, but also to grant preliminary and ancillary equitable relief,
18
l9
20
      83 PX 8, p. 275,¶ 18; PX 9, pp. 315-16,¶ 18; PX 11, pp. 388, 389, ¶¶ 15, 17, 20;
21
      PX 15, p. 542, ¶ 8.
22    84 15 U.S.C. § 53(b). This action is not brought pursuant to the first proviso of
23
      Section 13(b), which addresses the circumstances under which the FTC can seek
      preliminary injunctive relief before or during the pendency of an administrative
24    proceeding. Because the FTC brings this case pursuant to the second proviso of
25    Section 13(b), its complaint is not subject to the procedural and notice
      requirements in the first proviso. FTC v. H.N. Singer, Inc., 668 F.2d 1107, 1111
26   (9th Cir. 1982); see also, FTC v. U.S. Oil &Gas Corp., 748 F.2d 1431, 1434(l lth
27    Cir. 1984).
      85 FTC v. Affordable Media, LLC, 179 F.3d 1228, 1233 (9th Cir. 1999).
28


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     including restitution and disgorgement of ill-gotten gains.86 Here, where the public
     interest is at stake, exercise ofthe Court's broad equitable power is particularly
                'Indeed, numerous courts in this district and throughout the Ninth
     appropriate.$
4    Circuit have granted or affirmed injunctive relief similar to that requested here.$$
           B.     The FTC Meets the Standard for Preliminary Injunctive Relief
            In determining whether to grant a preliminary injunction under Section
     13(b), a court "must 1) determine the likelihood that the Commission will
     ultimately succeed on the merits and 2)balance the equities."89 Unlike private
     litigants, the FTC need not prove irreparable injury.90 In balancing the equities, the
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11
     86 FTC v. Commerce Planet, Inc., 815 F.3d 593, 598 (9th Cir. 2016)(citing FTC v.
12   Pantron I Corp., 33 F.3d 1088, 1102(9th Cir. 1994)); see also H.N. Singer, Inc.,
13   668 F.2d at 1113 (holding that a court may exercise the full breadth of its equitable
     authority in a Section 13(b) action because Congress "did not limit that traditional
14
     equitable power" when enacting the FTC Act)..
15   87 United States v. Laerdal Mfg. Corp., 73 F.3d 852, 857(9th Cir. 1995); Pantron I
16
     Corp., 33 F.3d at 1102;FTC v. World Wide Factors, 882 F.2d 344, 347(9th Cir.
     1989).
17   88 See, e.g., Affordable Media, 179 F.3d at 1232 & n. 2; FTC v. Impetus Enter.,
18   Inc., 8:18-cv-01987-JLS-KES (Nov. 13, 2018); FTC v. Al DocPrep, Inc., CV17-
     07044-SJO (JCx)(C.D. Cal. Sept. 28, 2017);FTC v. Alliance Document
19   Preparation LLC,cv-Y7-07048 SJO(KS)(C.D. Cal. Sept. 28, 2017);FTC v. M&T
20   Fin. Grp., CV17-6855-ODW(PLAx)(C.D. Cal. Sept. 19, 2017);FTC v. BAMFin.;
     LLC, SACV15-01672(C.D. Cal. Oct. 21, 2015);FTC v. Wealth Educators, LLC,
21
     SACV15-2357(C.D. Cal. Apr. 6, 2015).
22   89 Affordable Media, 179 F.3d at 1233 (quoting FTC v. Warner Commc'ns, Inc.,
23
     742 F.2d 1156, 1160(9th Cir. 1984)); see also World Wide Factors, 882 F.2d at
     346-47.
24   90 FTC v. Consumer Def., LLC,2:18-cv-00030-JCM-PAL, slip op. at 15 (9th Cir.
25   June 17, 2019); Affordable Media, 179 F.3d at 1233. Although not required to do
     so to obtain injunctive relief, the FTC also can show irreparable injury. As
26   discussed above, all of Defendants' victims are at risk of delinquency on their
27   student loans and continue to lose significant funds from their payments to
     Defendants. Supra, at pp. 12, 14(§§ III.A.2, III.B).
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     public interest should receive greater weight than private interests.91 As set forth
2    below, the FTC has amply demonstrated that it will ultimately succeed on the
3    merits of its claims and that the balance of equities favors injunctive relief.
4                 1.     The FTC Is Likely to Succeed on the Merits
5           To demonstrate likelihood of success on the merits, the FTC must make a
6    "prima facie showing of illegality,"92 and "the district court need only ...find
7    some chance of probable success on the merits" to grant an injunction.93 The FTC
8    has met this standard. The evidence shows that Defendants violate Section 5 ofthe
9    FTC Act and the TSR by flagrantly misrepresenting their purported student debt
to   relief services and further violate the TSR by collecting advance fees. It also
11   shows that the individual Defendants are liable for these violations.
12                       a.     Defendants Violate Section 5 of the FTC Act
13          Section 5 ofthe FTC Act prohibits any material representation or omission
14   that would likely mislead consumers acting reasonably under the circumstances.94
15   A representation is likely to mislead consumers when either it is false or the maker
16   lacked a reasonable basis for the claim.95 A claim is material if it "involves
17
18
   91 World Wide Factors, 882 F.2d at 347.
19 92 FTC v. GTP Mktg., Inc., Civ. A. No. 4-90-123-K, 1990 WL 54788,. at *4(N.D.

20   Tex. Mar. 15, 1990).
     93 United States v. Odessa Union Warehouse Co-op, 833 F.2d 172, 176(9th Cir.
21
     1987); accord. FTC v. City W. Advantage, Inc., No. 2:08-cv-00609-BES-GWF,
22   2008 WL 2844696, at *2(D. Nev. Jul. 22, 2008).
     94 FTC v. Stefanchik, 559 F.3d 924,928 (9th Cir. 2009);FTC v. Cyberspace.com,
23
     LLC,453 F.3d 1196, 1199 (9th Cir. 2006);FTC v. Gill, 265 F.3d. 944, 950 (9th
24   Cir. 2001);Pantron I Corp., 33 F. 3d at 1095 (quoting In re Cliffdale Assocs., Inc.,
25   103 F.T.C. 110, 164-65 (1984)).
     9s FTC Policy Statement Regarding Advertising Substantiation, 104 F.T.C. 648,
26   839(1984)(appended to In re Thompson Med. Co., 104 F.T.C. 648 (1984)); see
27   also FTC v. John Beck Amazing Profits, LLC,865 F. Supp. 2d 1052, 1057(C.D.
     Cal. 2012).
28


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     information that is important to consumers and, hence, is likely to affect their
2    choice of, or conduct regarding, a product."96 The Court is not confined to
3    analyzing isolated words and phrases, but must consider the overall "net
4    impression" that Defendants' representations make upon consumers.97
5          Here, Defendants make at least three false or unsubstantiated claims to
6    induce consumers to purchase their student loan debt relief services. First,
7    Defendants represent that consumers will be enrolled in a repayment plan that will
8    reduce their monthly payments to a specific lower amount(e.g., $51.67 per month)
9    or have their loan balances forgiven.98 This claim is false or unsubstantiated
to   because Defendants do not obtain the specific lower monthly payments or loan
11   forgiveness promised consumers, and sometimes offer to enroll consumers in
12   repayment plans or forgiveness programs for which they are not even eligible.99
13        Second, Defendants represent that most or all of consumers' monthly
14   payments to Defendants will be applied toward consumers' student loans loo This
15   claim is false or unsubstantiated because Defendants at most make sporadic
16   payments on consumers' student loans and, in many cases, do not make any
17   payments at all.'o'
18         Third, Defendants represent that they will assume responsibility for the
19   servicing of consumers' student loans.102 This claim is false or unsubstantiated
20

21   96 Cyberspace.com, 453 F. 3d at 1201 (quoting In re Cliffdale Assocs., 103 F.T.C.
22 at 165).
23
   97 Id. at 1200 (solicitation can be deceptive by virtue of its net impression even if it
   contains truthful disclosures); FTC v. Gill, 71 F. Supp. 2d 1030, 1043 (C.D. Cal.
24 1999).

25 98 Supra pp. 8-10(§ III.A.1).
   99Supra pp. 9-10(§ III.A.1).
26 ioo Supra pp. 10-12(§ III.A.2).

27 101 Supra pp. 11-12(§ III.A.2).
   lo2 Supra pp. 13-14(§ III.A.3).
28


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1    because Defendants are not federal loan servicers, nor are they in any way
2    affiliated with the Department of Education or federal loan servicers. Rather,
3    Defendants merely insert themselves as middlemen between consumers and their
4    actual servicers.'o3
5           All three claims are material because they are express representations that go
6    to the heart ofthe debt relief services promised by Defendants.lo4 Consumers
7    would not have signed up for Defendants' services if they knew that Defendants
8    would not obtain for them the promised debt relief services, make only sporadic, if
9    any, payments on their student loans, and sever their relationships with their actual
l0   loan servicers.'os
11         Thus, the FTC is likely to prevail in showing that Defendants violate Section
12   5 ofthe FTC Act.
13                      b.     Defendants Violate the TSR
14         Defendants violate two provisions ofthe TSR, which prohibits abusive and
15   deceptive telemarketing acts or practices. 16 C.F.R. Part 310. First, Defendants
16   violate the TSR's prohibition on collecting advance fees for debt relief services.
17   16 C.F.R. § 310.4(a)(5)(i). As discussed above, Defendants, after soliciting
18   consumers over the telephone, typically have collected one to three payments of
19   between $100 and $500 each before providing the promised debt relief services.lo6
20

21

22

23  l03 Supra pp. 13-14(§ III.A.3).
24 '04 pantron I Corp., 33 F.3d at 1095-96 (holding that express claims are
25 presumptively material)(citing Thompson Med. Co., 104 F.T.C.at 816, aff'd, 791
   F.2d 189(D.C. Cir. 1986)).
26 c os Cyberspace.com, 453 F. 3d at 1201. Many consumers have stated as much. See,

27 e.g., PX 1, p. 4, ¶ 20; PX 15, p. 543,¶ 13; PX 23, p. 652, ¶ 23.
    lo6 Supra pp. 14-15(§ III.B).
28


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     And, in some cases, Defendants have never provided the promised services, but
2    have continued to collect monthly payments ranging from $50 to $200.'0
                                                                         '
3          Second, Defendants violate the TSR's prohibition on making material
4    misrepresentations about debt relief services. 16 C.F.R. § 310.3(a)(2)(x). This
5    Count in the Complaint corresponds to Count I ofthe Complaint. The same three
6    misrepresentations discussed above that violate Section 5 ofthe FTC Act also
7    violate the Telemarketing Sales Rule.los
8                 2.     The Individual Defendants Are Liable for Injunctive and
9                        Monetary Relief.
to         An individual defendant may be held liable not only for his or her own
11   unlawful conduct but may also be subject to injunctive and monetary relief for any
12   corporate violations. To establish individual liability for injunctive relief based on
13   corporate violations of Section 5 ofthe FTC Act, the FTC must show that the
14   individual participated directly in the violative acts or practices or had authority to
15   control them.109 In general, an individual's status as an officer, or as someone with
16   the authority to sign documents on the corporation's behalf, gives rise to a
17   presumption of authority to control a small closely held corporation.'
                                                                          lo

18         Mazen Radwan, Rima Radwan, and Robbins are each liable for injunctive
19   relief based on their participation in the debt relief scheme. Each is an owner and
20   officer of all five corporate defendants(Dark Island, Elegant Solutions, Trend
21

22

23
   'o~Supra, at p. 15(§ III.B).
    ios Supra pp. 8-14(§ III.A).
24 '09 FTC v. Network Servs. Depot, Inc., 617 F.3d 1127, 1138 n.9 (9th Cir. 2010)
25 (citing FTC v. Publ'g Clearing House, Inc., 104 F.3d 1168, 1170(9th Cir. 1997));
   see also id.("Individual liability for injunctive relief under the Act has no mental
26 state requirement.").

27 "o publ'g Clearing House, 104 F.3d at 1170-71; see also FTC v. Amy Travel
   Servs., Inc., 875 F.2d 564, 573 (7th Cir. 1989).
28


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1     Capital, Heritage, and Tribune), a signatory on the corporate Defendants' bank
2     accounts, and a holder of one or more ofthe corporate Defendants' credit cards.'11
3     In addition, each has been instrumental in obtaining services on behalf ofthe
4     corporate defendants: Mazen Radwan has served as the customer contact for
5     Defendants' telecommunications and merchant processing accounts; Rima Radwan
6     has served as the customer contact for Defendants' payroll company; and Robbins
7     has served as the customer contact for Defendants' virtual office provider"Z and
8     created the CRM software that Defendants appear to use to operate their debt relief
9     scheme.13
to          An individual subject to injunctive liability is further liable for monetary
11    redress for corporate practices if the individual had, or should have had, knowledge
12    or awareness ofthe corporate defendant's misrepresentations.l'a This knowledge
13    element, however, need not rise to the level of subjective intent to defraud
14    consumers.l's Instead, the FTC need only demonstrate that the individual had
15    actual knowledge of material misrepresentations, reckless indifference to the truth
16    or falsity of such representations, or an awareness of a high probability offraud,
17    coupled with an intentional avoidance ofthe truth.16 An individual's "degree of
18    participation in business affairs is probative of knowledge.""'
19

20

21
      1 ~ ~ Supra pp. 6,7.(§ II.D).
22    12Supra p. 5(§ II.C).
      113 Supra pp. 5,6(§ II.C).
23
      14NetworkServs. Depot,617 F.3d at 1138-39 (9th Cir. 2010); Stefanchik, 559
24    F.3dat931.
     'ls Affordable Media, 179 F.3d at 1234; Amy Travel Servs., 875 F.2d at 574.
25
      116 Commerce Planet, 815 F.3d at 600; Network Servs. Depot,617 F.3d at 1138-39;
26   Stefanchik, 559 F.3d at 931.
27    117 Affordable Media, 179 F.3d at 1235 (quoting Amy Travel, 875 F.2d at 574
     (control oftelemarketing company was "strong evidence of...knowledge")).
28


                                               22
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1           Mazen Radwan, Rima Radwan, and Robbins are each liable for monetary
2     relief based on their actual or .constructive knowledge ofthe wrongdoing. In
3     addition to being officers and owners ofthe corporate Defendants, all three were
4     previously named as defendants, along with Heritage, Tribune, and predecessor
5     companies, in a lawsuit filed by the State of North Carolina for allegedly engaging
6     in unlawful debt relief practices that are nearly identical to those alleged in the
7    FTC's complaint.l'g Defendants, or their predecessor companies, also were sued
8     by the State of Washington,19 and entered into an Assurance of Voluntary
9     Compliance("AVC") with the State of Oregon concerning their student debt relief
to    activities.120 Thus,the FTC is likely to succeed in establishing that the individual
11   Defendants had at least constructive, if not actual, knowledge ofthe unlawful
12 conduct and therefore are liable for monetary relief.
13                 3.     The Equities Weigh in Favor of Granting Injunctive Relief
14          The public interest in halting Defendants' unlawful conduct outweighs any
15    interest Defendants may have in continuing to unlawfully market their services. In
16    balancing the equities between the public and private interest, "public equities
17 receive far greater weight."121 And because Defendants "can have no vested
18
19
20
21    l la pX 22, pp. 1163 ¶¶ 3-4 (alleging that defendants "d[id] not pay consumers'
22    student loan servicers as promised or misled] consumers about how much of their
23    payments (if any) will actually go toward their student loans" and that defendants
     "collect[ed] hefty(and illegal) advance fees before any services are conducted on
24    consumers' behalfl').
25    19PX 24, pp. 1215-25.
     '2o Robbins signed the Oregon AVC on behalf of Heritage in his capacity as Chief
26    Technology Officer. PX 23, p. 1213.
27    121 Warner Commc'ns., Inc., 179 F.2d at 1.165. See also Affordable Media, 179
      F.3d at 1236 (quoting World Wide Factors, Ltd., 882 F.2d at 347).
28

                                                23
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 1    interest in business activity found to be illegal,"122 a balance of equities tips
2     definitively toward granting the requested relief.123
3           The evidence demonstrates that the public equities—protection of
4     consumers from Defendants' unlawful student debt relief, effective enforcement of
5     the law, and the preservation of assets—weigh in favor of granting the requested
6     injunctive relief. Defendants' recidivist conduct indicates that they will likely
7     continue to deceive the public absent such relief.124 In contrast,"there is no
8     oppressive hardship to Defendants in requiring them to comply with the FTC Act,
9  refrain from fraudulent representation or preserve their assets from dissipation or
l0 concealment."125 Because the injunction will preclude only harmful, illegal
11 behavior, the public equities supporting the proposed injunctive relief outweigh
12 any burden imposed by such relief on Defendants.
                                                      126

13          C.     The Scope of the Proposed Ex Parte TRO Is Necessary and
14                 Appropriate
15          As the evidence shows, the FTC is likely to succeed in proving that
16   Defendants have been engaging in deceptive and unfair practices in violation ofthe
17   FTC Act and the TSR and that the balance ofthe equities strongly favors the
18    public. Preliminary injunctive relief is thus justified and the Court should grant a
19

20
      122 United States v. Diapulse Corp. ofAm.,457 F.2d 25, 29(2d Cir. 1972)(internal
21
      quotations and citation omitted).
22    123 CFTC v. British Am. Commodity Options Corp.,560 F.2d 135, 143(2d Cir.

23
      1977)("A court of equity is under no duty `to protect illegitimate profits or
      advance business which is conducted illegally."'(citing FTC v. Thomsen-King &
24    Co., 109 F.2d 516, 519(7th Cir. 1940))).
     'z4FTC v. Five-Star Auto Club,97 F. Supp. 2d 502, 536(S.D.N.Y. 2000)("[P]ast
25
      illegal conduct is highly suggestive of the likelihood of future violations.").
26   'Z5 World Wide Factors, 882 F.2d at 347.
27
     '26 See, e.g., Nat'l Soc'y ofProf'l Eng'rs. v. United States, 435 U.S. 679,697
     (1978).
28


                                                 I.'!
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1    TRO that includes conduct relief, asset preservation, a temporary receiver, and
2    immediate access to the business locations. Courts in this district and throughout
3    the Ninth Circuit have routinely granted this relief in similar cases.'Z
                                                                           '
4                  1.    Conduct Relief
5           To prevent ongoing consumer injury, the proposed TRO prohibits
6    Defendants from making deceptive debt relief representations (Paragraph I) and
7    collecting unlawful advance fees (Paragraph II). These measures simply require
8    Defendants to comply with the law and are squarely within the Court's broad
9    equitable authority under Section 13(b) ofthe FTC Act "to grant any ancillary
l0   relief necessary to accomplish complete justice."128
11                2.     Asset Preservation Is Necessary to Preserve the Possibility
12                       of Final Relief
13          An asset freeze is appropriate once the Court determines that the FTC is
14   likely to prevail on the merits and restitution would be an appropriate final
15   remedy.'29 "A party seeking an asset freeze must show a likelihood of dissipation
16   ofthe claimed assets, or other inability to recover monetary damages, if relief is
17   not granted."130 Courts have found a strong likelihood that a defendant's assets
18   will be dissipated during the pendency of a case where the business is permeated
19

20

21    12~ See supra n.88.
22    12g H.N. Singer, Inc., 668 F.2d at 1113.
     '29 FTC v. World Travel Vacation Brokers, Inc., 861 F.2d 1020, 1031 (7th Cir.
23
      1988);FTC v. Southwest Sunsites, Inc., 665 F.2d 711, 717-19(5th Cir. 1982); see
24   also FTC v. IAB Mktg. Assocs., LP,972 F. Supp. 2d 1307, 1313-15 (S.D. Fla.
25   2013);SEC v. ETSPayphones, Inc., 408 F.3d 727, 734(11th Cir. 2005)("[T]he
      asset freeze is justified as a means of preserving funds for the equitable remedy of
26    disgorgement.").
     '3o Johnson v. Couturier, 572 F.3d 1067, 1085 (9th Cir. 2009); see also Affordable
27
     Media, 179 F.3d at 1236-37.
28


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 1    by fraud.131 As the Ninth Circuit has observed in upholding an asset freeze, an
2     individual who has "impermissibly awarded himself'funds that are not rightfully
3     his, "is presumably more than capable of placing assets in his personal possession
4     beyond the reach of a judgment."132
5           Here, an asset freeze (Paragraph IV)is necessary to preserve the status quo,
6     ensure that funds do not disappear during the course of this action, and preserve
7     Defendants' assets for final relief. Defendants' student debt relief scheme is
8     wholly premised on collecting fees from consumers for services they fail to
9     deliver. An analysis of Defendants' bank records shows that from October 2014
10    through February 2019 Defendants collected more than $23 million from
11    consumers.133 From those funds, Defendants have transferred at least $4.6 million
12 to accounts belonging to the individual Defendants and their respective spouses.134
13          Without an asset freeze, the dissipation of assets is likely. Evidence shows
14   that the individual Defendants use the corporate Defendants' bank accounts as their
15    personal slush funds, spending substantial sums scammed from cash-strapped
16    consumers to fund extravagant lifestyles consisting of luxury cars and exotic
17    vacations. For example, bank records show that since April 2015 the individual
18   Defendants have transferred more than $134,000 to BMW Financial Services, GM
19
20
21    13'Intl Controls Corp. v. Yesco, 490 F.2d 1334, 1347(2d Cir. 1974);SEC v.
22    Manor Nursing Ctr., Inc., 458 F.2d 1082, 1106(2d Cir. 1972); see also FTC v.
23
     H.N. Singer, Inc., 668 F.2d at 1113;FTC v. Willms, Case No. C11-828 MJP,2011
      WL 4103542, at *11 (W.D. Wash. Sept. 13, 2011);FTC v. Intl Computer
24    Concepts, Inc., No. 5:94CV1678, 1994 WL 730144, at *16-17(N.D. Ohio Oct. 24,
25    1.994).
      13z Johnson, 572 F.3d at 1085.
26    133 Supra, at p. 15(§ III.B).
27
     '3a pX 20, p. 732, ¶ 186(over $1.5 million went to Dean Robbins, $1.4 million to
      Mazen Radwan, and $1.7 to Rima Radwan).
28


                                               26
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 1    Financial Services, Mercedes Benz Financial Services and Porsche to pay for auto
2     loans or leases.13s
3           The individual Defendants also have charged substantial personal expenses
4     to corporate credit cards, which they have paid for using funds from the corporate
5     Defendants' bank accounts.136 These charges include, for the period October 2018
6     to January 2019: more than $24,000 for restaurants, supermarkets, department
7     stores and food delivery services; more than $36,000 for travel-related expenses,
8     such as a vacation to Disney Resorts Hawaii and a Utah hunting trip, and more
9     than $11,000 for various other personal expenses, such as gym memberships,
to    ITunes purchases, barber shop and beauty salon visits, Roku and Netflix purchases,
11    massage parlor visits, tutoring services, a lifestyle expert program, and medical
12    expenses.137
13          Freezing individual assets is warranted where, as here, the individual
14 ~ Defendants control the business that perpetrated the unfair and deceptive acts

15    alleged,138 and giving notice could result in an inability to provide any relief at
16    a11.139
17                   3.   A Receiver Is Necessary to Halt the Injury and Locate and
18                        Preserve Business Assets and Records
19          The FTC seeks appointment of a temporary receiver over the five corporate
20 ~ Defendants (Paragraph XIV). This Court has inherent power to appoint a receiver

21    incident to its statutory authority to issue permanent injunctions under Section
22

23

24
     '3s pX 20, p. 726, 730, ¶¶ 161, 180.
25
     '36 pX 20, pp. 726, 736, ¶¶ 161, 163, 203.
26  137pX 20, p. 736, ¶ 203.
   '3s World Travel, 861 F.2d at 1031.
27
   '39 In re Vuitton et Fils S.A., 606 F.2d 1, 4-5 (2d Cir. 1979).
28


                                                27
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1     13(b) ofthe FTC Act.140 A receiver is necessary when a corporate defendant has
2     defrauded the public.14'
3           If Defendants are allowed to remain in control of their business, they are
4     likely to destroy evidence and dissipate the fruits oftheir fraud. A neutral receiver
5     would prevent further harm to consumers and would locate and secure assets and
6    records without disrupting any legitimate business activity. A receiver would also
7     help assess the extent ofthe fraud, trace its proceeds, prepare an accounting, and
8     make an independent report of Defendants' activities to the Court.
9                  4.    Immediate Access and Limited Expedited Discovery Are
10                       Appropriate
ll          The proposed TRO directs Defendants to provide both the temporary
12 receiver and the FTC with immediate access to the corporate Defendants' business
13    premises (Paragraph XV(P)). This will enable the receiver and the FTC quickly
14   and efficiently to locate assets Defendants have wrongfully taken from consumers,
15    identify possible additional defendants, and locate and secure documents
16   pertaining to Defendants' business. The business premises to which the receiver
17   and the FTC would have immediate access include offices located at 3 Studebaker,
18   Irvine, California 92618,142 as well as additional business locations ifthey are
19   discovered during the immediate access.
20
21    14o U.S. Oil &Gas,748 F.2d at 1432; see also, e.g., Al Docprep, Inc., CV17-
22   07044-SJO (JCx).
     '41 SEC v. First Fin. Grp. ofTexas,645 F.2d 429, 438(5th Cir. 1981)("[I]t is
23
      hardly conceivable that the trial court should have permitted those who were
24    enjoined from fraudulent misconduct to continue in control of(the corporate
25    defendant's) affairs...."(quoting SEC v. Keller Corp., 323 F.2d 397, 403 (7th Cir.
      1963)).
26   '42 PX 20, p. 714, Table 2. This address belongs to a two-story office building that
27    is leased to Defendant Dark Island. Defendants have used this address to obtain
      virtual office and mail forwarding services, payroll services, merchant account
28


                                               28
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            The FTC also seeks permission to conduct limited expedited discovery to
2     locate and identify documents and assets (Paragraph XXV). District courts may
3     depart from normal discovery procedures to meet discovery needs in particular
4     cases,143 especially as preliminary relief in a case involving the public interest.144
5                  5.     The TRO Should Be Issued Without Notice to Defendants to
6                         Preserve the Court's Ability to Fashion Meaningful Relief
7           The substantial risk of asset dissipation and document destruction in this
      case, coupled with Defendants' ongoing and deliberate statutory violations,
9    justifies non-noticed relief. Federal Rule of Civil Procedure 65(b) permits this
10    Court to grant a TRO without notice if it appears notice will result in "irreparable
1]    injury, loss, or damage" and the applicant certifies the reason why.145 Issuing the
12 ex parte TRO without notice in this case is indispensable to preserving the status
13    quo, including securing assets needed to provide full and effective relief pending a
14    hearing on the preliminary injunction.
15          As discussed above, Defendants' business operations are permeated by
16    unlawful practices. The FTC's experience shows that defendants engaged in
17   fraudulent schemes similar to Defendants' often withdraw funds from bank
18    accounts and move or shred documents upon learning of impending legal action.146
19
20    services, and Internet services. Dark Island appears also to operate a classic car
      sales and storage business out ofthe first floor ofthe building. If the Court grants
21
      the FTC's proposed temporary restraining order, the Receiver would be charged
22    with determining which assets belong to the receivership and which, if any, belong
23
      to third parties and must be released.
      143
          See Fed. R. Civ. P. 26(d), 30(a)(2), 33(a), and 34(b).
24    144
          The Court's equitable powers are broader if the public interest is involved.
25   Porter v. Warner Holding Co., 328 U.S. 395, 398(1946).
     '45 Fed. R. Civ. P. 65(b); see also L.R. 7-19.2.
26   '46 See Rule 65 Declaration of K. Michelle Grajales, pp. 4-11, ¶ 10 (citing
27    numerous instances where FTC defendants have dissipated assets or destroyed
      evidence when given notice ofthe FTC action).
28


                                                29
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 1    Defendants' conduct —including moving large sums from corporate accounts to the
2     individual Defendant's accounts —and the nature of Defendants' illegal scheme
3     makes it is highly likely that Defendants would conceal or dissipate assets absent
4     non-noticed relief. Courts therefore have regularly granted the FTC ex parte relief
5     in similar cases.147 Non-noticed TROs are granted to serve the "underlying
6     purpose of preserving the status quo and preventing irreparable harm just.so long
7     as is necessary to hold a hearing, and no longer."14s
8     V.    CONCLUSION
9           Defendants are causing substantial public injury through their unlawful
10 student loan debt relief scheme. The FTC respectfully requests the proposed ex
1 1 'i parte TRO be issued without notice to Defendants to protect the public from
12 further harm and help ensure effective relief for those already harmed.
13
14 ~ Respectfully submitted,
~5
16 Dated: July 8, 2019
                                            K. Michelle Grajales
17                                          Samuel.F. Jacobson
18                                          Attorneys for Plaintiff
                                            FEDERAL TRADE COMMISSION
19
20
21
22
23
24
25
26    14~ See supra n.88.
27    148 Reno Air RacingAss'n, Inc. v. McCord,452 F.3d 1126, 1131 (9th Cir. 2006)
     (quoting Granny Goose Foods, Inc. v. Teamsters, 415 U.S. 423,438-39 (1974)).
28

                                              30
